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 7
 8                   IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   2:06-CR-058 FCD
                                           )
12              Plaintiff,                 )
                                           )   ORDER DISMISSING COUNT 11
13        v.                               )   AGAINST DEFENDANT IOSIF
                                           )   CAZA
14   JAGPRIT SINGH SEKHON et al.,          )
                                           )
15               Defendants.               )
                                           )
16                                         )

17        Pursuant to motion of the Plaintiff, United States of

18   America, Count 11 of the Second Superseding Indictment filed

19   December 13, 2007, against defendant Iosif Caza in the above-

20   entitled case, is dismissed.

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     Date: March 18, 2010
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24                                        FRANK C. DAMRELL, JR.
                                          UNITED STATES DISTRICT JUDGE
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